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10                              UNITED STATES DISTRICT COURT
11                             EASTERN DISTRICT OF CALIFORNIA
12                                     SACRAMENTO DIVISION
13
                                      ) Case No.: 2:24-cv-00588-DMC
14   JUAN PABLO ROMERO,               )
                                      ) STIPULATION AND ORDER FOR AN
15            Plaintiff,              ) EXTENSION OF TIME
                                      )
16       vs.                          )
     COMMISSIONER OF SOCIAL SECURITY, )
17                                    )
                                      )
18            Defendant.              )
                                      )
19                                    )
20
21          Pending the Court’s approval, the parties hereby stipulate that the time for Defendant to
22   respond to Plaintiff’s Motion for Summary Judgment be extended twenty-one (21) days from
23   June 17, 2024, up to and including July 8, 2024.
24          This is Defendant’s first request for an extension, and it is made with good cause.
25   Defendant’s counsel requires this extension in order to confer with her client and prepare the
26   responsive brief, as appropriate. Defendant requests this extension in good faith and with no
27   intent to delay these proceedings unnecessarily.
28


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 1          The parties further stipulate that the Court’s Scheduling Order shall be modified
 2   accordingly.
 3                                               Respectfully submitted,
 4
     Dated: June 12, 2024                        /s/ Jeffrey R. Duarte*
 5                                               (*as authorized via e-mail on June 12, 2024)
                                                 JEFFREY R. DUARTE
 6                                               Attorney for Plaintiff
 7
     Dated: June 12, 2024                        PHILLIP A. TALBERT
 8                                               United States Attorney

 9                                               MATHEW W. PILE
10                                               Associate General Counsel
                                                 Office of Program Litigation, Office 7
11
                                          By:    /s/ Mary Tsai
12                                               MARY TSAI
13                                               Special Assistant U.S. Attorney
                                                 Office of Program Litigation, Office 7
14
                                                 Attorneys for Defendant
15
16                                               ORDER
17          Pursuant to the parties’ stipulation, IT IS SO ORDERED that Defendant shall have an
18   extension, up to and including July 8, 2024, to respond to Plaintiff’s Motion for Summary
19   Judgment.
20
21          Dated: June 14, 2024
22                                                       ____________________________________
                                                         DENNIS M. COTA
23                                                       UNITED STATES MAGISTRATE JUDGE
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25
26
27
28


     Stip. for Ext.; 2:24-cv-00588-DMC               2
